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                                           GeyerGorey LLP
                                              2006 Berwick Drive
                                            Cinnaminson, NJ 08077
                                                (202) 374-0312
                                             brad@geyergorey.com

June 28, 2019

VIA ECF
Hon. Steven C. Mannion
United States Magistrate Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

           Re:        U.S.A. et al., ex rel., Armstrong v. Andover, et al.
                      Civil Action No. 12-3319-SDW-SCM
                      Motion to Compel Answer to Deposition Questions

Dear Judge Mannion:

           Pursuant to the Court’s instruction last week, please accept this letter brief on behalf of
Relator, Kenneth Armstrong (“Relator”) in support of Relator’s motion to compel the defendant
to answer deposition questions. Relator’s underlying action is a qui tam matter brought under the
Federal and two (2) state qui tam statutes. 1 The Defendants are as follows: two large nursing
homes, Andover Subacute and Rehab Center One, Inc. (“Andover One”), Andover Subacute and
Rehab Center Two, Inc. (“Andover Two”) (together “Andover”); and, two doctors, Dr. Sanjay Jain
(“Jain”) and the late Dr. Hooshang Kipiani (“The Estate of Kippiani”) (together Defendant
Doctors).
           This Motion relates to two depositions taken this month: First, the June 3, 2019 deposition
of Mrs. Carla Kipiani; and, second, the June 4, 2019 30(b)(6) deposition of Andover’s Claims
designee on June 4, 2019. Andover Claims Designee is Mr. Craig Goodstadt, Esq. who is also
Andover’s long time General Legal Counsel and Compliance Officer. During each deposition,
Andover’s counsel objected to a line of questioning asserting that the questions were not relevant
and/or constituted harassment. The parties were unable to resolve Andover’s objections and the
witnesses were improperly instructed not to answer. The issue was raised with the Court during



1
    The Federal False Claims Act, 31 U.S.C. §§ 3729-3733, and the False Claims Acts of New Jersey and New York.


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the telephonic status conference held on Friday, June 21, 2019 at which time the Court instructed
Relator to file a motion to compel on or before June 28, 2019.
           As will be discussed further below, the Federal Rules of Civil Procedure do not permit
counsel to instruct their witness not to answer questions at deposition absent three exceptions that
do not exist here. The questions posed were relevant to disputed issues in this case and in no way
constituted harassment of the witness.
                                   RELATOR’S ALLEGATIONS

           Federal law mandates that all patients in nursing facilities, such as Andover, “must remain
under the care of a physician.” 42 C.F.R. § 483.30. More specifically, nursing home residents are
required to be seen every “30 days for the first 90 days after admission, and at least once every 60
days thereafter.” 42 C.F.R. § 483.30(c)(1). Being “seen” means that the resident’s attending
physician “must make actual face to face contact with the resident.” Interpretative Guidelines
§483.30(c). The State of New Jersey similarly requires Medicaid beneficiaries to “be under the
supervision of a New Jersey licensed attending physician” and that the resident “be visited and
examined every 30 days” for the first 90 days “by the physician personally, or a physician assistant
or nurse practitioner.” N.J.A.C. 8:85-2.3(a)(1), (c)(5)(i)(1). Thereafter, “the interval between
visits may be extended for up to 60 days . . . with written justification.” Id.
           Based on Relator’s personal observations, as supplemented by statements made to him by
other Andover employees, Relator alleges that Dr. Kipiani and other physicians at Andover
submitted false claims certifying that they performed patient visits as required by federal and state
law when they did not, but still filled out medical charts as if they had done so. Further, Relator
alleges that Andover submitted false “per diem” claims for Medicaid residents who were supposed
to be under the care and supervision of Dr. Kipiani and Dr. Jain. The New York and New Jersey
Departments of Health determine Medicaid per diem rates based, in part, on the individual
facility’s costs certified by the facility in the annual cost reports that it submits to the Center for
Medicare and Medicaid Services (“CMS”).
                           DEPOSITION OF CARLA TURCO KIPIANI 2
           Mrs. Kipiani testified as follows concerning issues relevant to this motion.

2
 Citations are to the page and line numbers of excerpts taken from the deposition transcript of
Mrs. Kipiani- relevant pages are attached as Exhibit 1 to Geyer Declaration.


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           Ownership and operation of Andover One and Andover Two has been within the Turco
family since at least the 1960s. (18:11 to 19:5) Andover One and Two served approximately 700
patients at any one point in time. (51:14-18) Mrs. Kipiani was a licensed nursing home
administrator, and formerly owned and held the position of President of Andover One and Andover
Two. (11:3-17; 15:6-8; 47:5-17; 63:9-12) Mrs. Kipiani’s husband, Dr. Hooshang Kipiani, had
been employed by Andover from 1995 through 2004, and thereafter, worked as an independent
contractor and served as the Medical Director to both facilities. (55:2 to 58:1; 75:8-12)
           Among Mrs. Kipiani’s responsibilities was to oversee the administrators for both facilities
and to ensure that Andover’s patients were being seen by a New Jersey licensed physician at least
once per month. (14:9-12; 52:19 to 53:2) Mrs. Kipiani testified that she worked at the facilities
from approximately 11:00 a.m. to 4:00 p.m. (49:9 to 50:15)
           In her capacity as the licensed nursing home administrator, Mrs. Kipiani reviewed and
signed certified cost reports submitted to CMS. (63:19-24) According to the cost reports for 2009,
Andover paid Mrs. Kipiani an administrator fee of $234,000 that same year. (64:10-19; 67:4-17)
           During the deposition, Mrs. Kipiani was asked:

           Q. How many entities do you have an interest in?
           MR. BERMAN: Objection. I'm going to direct the witness not to answer.
           MR. MININNO: Okay.
           MR. BERMAN: The case is about the provision of medical services. You're asking about
           the witness's personal financial investments.
           MR. MININNO: You're directing her not to answer?
           MR. BERMAN: I am. I am directing her not to answer. Unless you turn back to the
           issues in dispute, I'm going to direct her not to answer. We can get the judge on the line.
           Q. The question was the number of entities in which you have an interest.
           MR. BERMAN: Objection. You're harassing the witness. I'm directing her not to
           Answer.

(70:22-71:13)
       A moment later, Counsel conferred on the record and then agreed as follows:

           MR. MININNO: So, Mark, in response to your objection. What I intend to do, and you
           can put this on this record, I don't want to -- I'm going to have standing questions, you
           have a standing
           objection. I intend to go through each of the cost reports, number one.
           Number two, I also intended to inquire as to each of the entities she has an affiliation with
           to see -- and then see the amount of time she spent with those. I think it's highly relevant,
           not that we have a relevance objection here, to see if the woman perhaps was spreading



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           herself too thin and was not spending enough time at Andover. So I think that's a good
           question.
           MR. BERMAN: I'm not going to have her answer any of those questions. I don't think it's
           relevant at all.
           MR. MININNO: Okay. So you're directing her not to -- pretending I'm asking all of
           those questions, you're going to direct her not to answer those?
           MR. BERMAN: Correct.

(76:13-77:9)
                          DEPOSITION OF 30(b)(6) CLAIMS DESIGNEE 3
           Relator served a 30(b)(6) deposition notice in November 2018 and April 2019.
Summarizing those Notices, the Relator sought:
           The Person(s) most qualified and knowledgeable and able to describe the procedure each
           Defendant followed in (a) submitting claims to and (b) receiving payment from the (i) to
           identify all claims that were submitted by to the Medicare … [and] New Jersey or New
           York Medicaid […] from 2009 through 2012. (See Geyer Declaration Exhibit X and Y)

           Mr. Craig Goodstadt, Esq. Andover’s long time General Legal Counsel and Compliance
Office acted as the designee.
           At the end of the deposition, there were numerous objections and instructions not to
answer. (70:10-78:3). For the reasons set out below, the Court should Order answers to these
deposition questions.
                                        LEGAL ARGUMENT
           I.         THE QUESTIONING OF THE DEPONENTS WAS
                      RELEVANT TO THE ISSUES IN THIS MATTER.

           “Unless otherwise limited by court order the scope of discovery” permits parties to “obtain
discovery regarding any nonprivileged matter that is relevant to any party’s claims or defense….”
Fed. R. Civ. P. 26(b)(1). Importantly, “[r]elevant information” under the rule does not mean that
the information must be admissible at trial so long as “the discovery [sought] appears reasonably
calculated to lead to the discovery of admissible evidence.” Id.




3
 Citations are to the page and line numbers of excerpts taken from the deposition transcript of
Mr. Goodstadt, Esq. - relevant pages are attached as Exhibit 2 to Geyer Declaration attached.


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           The number of corporate entities in which Mrs. Kipiani and/or Dr. Kipiani held an equity
interest or were otherwise involved is also highly relevant to the issue of whether the Andover
Defendants provided its residents with adequate health care required by federal and state laws.
Information about each business entity Mrs. Kipiani is affiliated with, the business purpose of each
entity, and the level of Mrs. Kipiani’s involvement by way of duties and responsibilities is highly
relevant to whether the Andover Defendants complied with federal and state regulations
concerning required patient visits and payments made by Medicare and Medicaid for falsely billed
patient visits. As owner, President, and the licensed nursing home administrator for the Andover
facilities, the time Mrs. Kipiani allocated to her other business interests is highly relevant to
whether Mrs. Kipiani was able to ensure that Andover’s patients were being seen by a New Jersey
licensed physician at least once a month as require by federal and state law. This information is
also relevant to whether Andover submitted false bills to Medicare and Medicaid as Mrs. Kipiani
signed off on certifications that were submitted to governmental regulatory authorities.
           In any event, and as previously discussed, the issue of relevancy does not preclude counsel
from asking questions about Mrs. Kipiani’s other businesses because these questions are without
question reasonably calculated to lead to the discovery of admissible evidence. Moreover, an
objection as to the relevance of a question is not a proper basis to instruct the witness not to answer
a question.
           Further, as to the Corporate Designee, the questions directly inquired whether Andover
would or would not submit claims and demand payment from the government under different sets
of facts. While the questions were in the form of a hypothetical or asking the witness to assume
facts were true, such form was proper. The entire premise of this case is neither complex nor Top
Secret. Both Mrs. Kipiani and Mr. Goodstadt agree that New Jersey and Federal regulations require
that nursing home care be under the supervision of a physician who sees the patient every thirty
(30) days. 4 At trial, the Relators intend to prove that for many Andover patients, the nursing home
care was not under the supervision of any physician as is required by law. Since Andover does
not concede this fact, the only way to ask these questions is to have the Deponent assume counter-
factual – one the Relator intends to prove. As the Corporate designee, it is totally proper to ask



4
    Deposition of Kipiani at (12:2) and 30(b)(6)Deposition of Goodstadt (34:7-13) at Exhibit AA and BB


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whether Andover would or would not properly submit claims for services that were not in
accordance with the law.
           II.        IT WAS IMPROPER TO INSTRUCT DEPONENT NOT TO ANSWER
                      QUESTIONS POSED AT HER DEPOSITION.

           Federal Rules of Civil Procedure permit attorneys to ask any question at a deposition,
provided the question does not invade a recognized privilege, exceed the limits of a court’s order,
or is made in bad faith for the sole purpose of annoying or embarrassing the deponent. Pursuant
to Fed. R. Civ. P. 30(c)(2), objections should be noted on the record in a concise nonargumentative
manner, “but the examination still proceeds; the testimony is taken subject to any objection.”
           There are only three occasions when the Federal Rules of Civil Procedure will allow
counsel to instruct a witness not to answer a question during a deposition. “A person may instruct
a deponent not to answer only when necessary to preserve a privilege, to enforce a limitation
ordered by the court, or to present a motion under Rule 30(d)(3).” Id. (emphasis added); see also
Otsuka Pharmaceutical Co., Ltd. V. Apotex Corp., 310 F.R.D. 256, 260 (D.N.J. 2015).               Rule
30(d)(3)(A) permits a party to move to terminate or limit the deposition if the deposition “is being
conducted in bad faith or in a manner that unreasonably annoys, embarrasses, or oppresses the
deponent or party.” This necessarily requires Defendants to show that disclosure of information
in response to the questions posed by Relator’s counsel “will work a clearly defined and serious
injury to the party seeking closure.’” Otsuka Pharmaceutical Co., Ltd., 310 F.R.D. at 259 (quoting
Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994)).
           The provisions of Rule 30(c) are obviously intended to expedite and to simplify the
discovery process.” International Union of Elec., Radio and Machine Workers v. Westinghouse
Electric Corporation, 91 F.R.D. 277, 278 (D.C. 1981). It is not proper to instruct a witness to not
answer a question even if the question is not relevant. “‘[T]he better practice is for attorneys to
note their objections, but permit their clients to answer questions leaving resolution of the objection
to pre-trial or trial. This approach conserves the parties’ or witnesses’ time and money, as well as
judicial resources, and expedited the trial of the lawsuit.’” Id. at 279 (quotation omitted).
           It is respectfully submitted that this Court should reject any assertion by the Andover
Defendants that Realtor’s counsel’s questioning Mrs. Kipiani about her business interests
constitutes harassment. As previously discussed, Relator’s questions about Mrs. Kipiani’s business



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interests is relevant to the claims and defenses asserted in this action. If Andover’s counsel
believed that Mrs. Kipiani’s deposition was being conducted in bad faith, or because Mrs. Kipiani
was being harassed, “he should have suspended the deposition at that juncture, stated his
complaints on the record, and applied immediately to the court for protection under Rule 30(d).”
Smith v. Logansport Community School Corp., 139 F.R.D. 637, 643 (N.D. IN. 1991) (citations
omitted); see also Redwood v. Dobson, 476 F.3d. 462, 467-68 (7th Cir. 2007) (observing that
counsel repeatedly violated the rule by telling the witness “not to answer yet never presenting a
motion for a protective order”).
           Courts may order that “a person who impedes, delays, or frustrates the fair examination of
the deponent” pay “the reasonable expenses and attorney’s fees incurred by any party” to resume
the deposition. Fed. R. Civ. P. 30(d)(2). The Andover Defendants did not move for a protective
order because Relator’s questioning of Mrs. Kipiani was not made in bad faith nor intended to
annoy or embarrass her. 5
           For these reasons, an order compelling Andover Defendants to produce Mrs. Kipiani and
Mr. Goodstadt (or another 30(b)(6) designee) for completion of the depositions and awarding
Relator reasonable expenses and attorneys’ fees to continue such depositions is warranted.


                                                      Respectfully submitted,

                                                      /s Bradford L. Geyer
                                                      GeyerGorey LLP
                                                      2006 Berwick Drive
                                                      Cinnaminson, NJ 08077
                                                      (202) 374-0312
                                                      Counsel for Relator




5
 To the extent there is any additional doubt, the deposition was video recorded and a copy can be supplied to the
Court.


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